                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

UNITED STATES OF AMERICA,                            )
                                                     )
                       Plaintiff,                    )
                                                     )
v.                                                   )           No. 3:05-CR-115
                                                     )           (PHILLIPS/GUYTON)
JOSEPH FAIRCLOTH,                                    )
                                                     )
                       Defendant.                    )


                                MEMORANDUM AND ORDER

               All pretrial motions in this case have been referred to the undersigned pursuant to

28 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the

District Court as may be appropriate. This case is before the Court on the following motions by

the defendant, all of which were filed on November 30, 2005:

               (1) Defendant Joseph Faircloth’s Request for Disclosure Of Exculpatory Evidence
               [44];

               (2) Defendant Joseph Faircloth’s Motion for Disclosure of Identity Of Persons
               Who Were Present Or Participated In Any Charged Offense Conduct [45]; and

               (3) Defendant Joseph Faircloth’s Request for Notice Of Any Rule 404(B)
               Evidence The Government Seeks To Introduce At Trial. [47].

The Court has reviewed defendant’s motions [44, 45, and 47], including the memorandum

and related authorities submitted by defendant. The Court has likewise reviewed the

government’s Consolidated Response to Defendant Joseph Faircloth’s Motions [53]. The Court

finds that oral argument would not assist the Court in its disposition of these matters.




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Case 3:05-cr-00115-PLR-HBG           Document 65         Filed 02/08/06     Page 1 of 2    PageID
                                           #: 12
              The Court finds that defendant’s motions are not well taken and should be denied.

Accordingly, the defendant’s motions [Docs. 44, 45, and 47] are DENIED.


              IT IS SO ORDERED.

                                                  ENTER:



                                                        s/ H. Bruce Guyton
                                                  United States Magistrate Judge




                                              2


Case 3:05-cr-00115-PLR-HBG         Document 65         Filed 02/08/06    Page 2 of 2    PageID
                                         #: 13
